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                                                                                 13                                    UNITED STATES DISTRICT COURT

                                                                                 14                                        DISTRICT OF NEVADA

                                                                                 15      SEQUOAH TURNER, an Individual,                 CASE NO.: 2:22-cv-01357-MMD-BNW

                                                                                 16                       Plaintiff,
                                                                                                                                             STIPULATION AND ORDER FOR
                                                                                 17      v.                                                   DISMISSAL WITH PREJUDICE

                                                                                 18      AREA 15 LAS VEGAS LLC, a Delaware
                                                                                         Limited Liability Company, AREA 15
                                                                                 19      GLOBAL LLC, a Delaware Limited
                                                                                         Liability Company, KENNETH FISHER,
                                                                                 20      an Individual, STEVEN FISHER, an
                                                                                         Individual, WINSTON FISHER, an
                                                                                 21      Individual, FISHER BROTHERS
                                                                                         MANAGEMENT CO. LLC, a New York
                                                                                 22      Limited Liability Company, FISHER
                                                                                         BROTHERS FINANCIAL AND
                                                                                 23      DEVELOPMENT COMPANY LLC, a
                                                                                         New York Limited Liability Company, and
                                                                                 24      DOES 1-50 Inclusive,

                                                                                 25                       Defendants.

                                                                                 26

                                                                                 27                Plaintiff SEQUOAH TURNER (“Plaintiff”), by and through her undersigned counsel of

                                                                                 28     record, and Defendants AREA 15 LAS VEGAS LLC, AREA 15 GLOBAL LLC, FISHER


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